               Case 3:17-cv-05769-RJB Document 113 Filed 08/06/18 Page 1 of 3



 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8

 9        UGOCHUKWU GOODLUCK                                  CASE NO. 3:17-cv-05769-RJB
          NWAUZOR and FERNANDO AGUIRRE-
10        URBINA, individually and on behalf of all           ORDER ON DEFENDANT THE
          those similarly situated,                           GEO GROUP, INC.’S MOTION TO
11                                                            DISMISS PLAINTIFFS’ FIRST
                                    Plaintiffs,               AMENDED COMPLAINT
12               v.

13        THE GEO GROUP, INC.,

14                                  Defendant.

15

16           THIS MATTER comes before the Court on Defendant The GEO Group, Inc.’s Motion to

17   Dismiss Plaintiffs’ First Amended Complaint. Dkt. 91. The Court has considered the motion, the

18   pleadings filed in support of and opposition to the motion, and the remainder of the file herein.

19   The Court also considered oral argument on August 2, 2018.

20   I.      Derivative sovereign immunity under Yearsley.

21           Defendant’s motion first raises the issue of whether it should be entitled to “derivative

22   sovereign immunity” under Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18 (1940) and its

23   progeny, because if so, Defendant argues, the Court lacks subject matter jurisdiction under Fed.

24   R. Civ. P. 12(b)(1). On this issue, the motion should be denied without prejudice.


     ORDER ON DEFENDANT THE GEO GROUP, INC.’S MOTION TO DISMISS PLAINTIFFS’ FIRST
     AMENDED COMPLAINT - 1
              Case 3:17-cv-05769-RJB Document 113 Filed 08/06/18 Page 2 of 3



 1          For purposes of this Order, the Court assumes that the Yearsley derivative sovereign

 2   immunity issue is properly raised under Fed. R. Civ. P. 12(b)(1).

 3          The parties are agreed on the Yearsley standard: Defendant is shielded from liability as

 4   contractor providing services to the federal government, if: (1) the government authorized the

 5   contractor’s actions, and (2) the government validly conferred that authorization, meaning it

 6   acted within its constitutional power. Dkt. 91 at 12; Dkt. 101 at 7. See Yearsley, 309 U.S. at 20,

 7   21; Campbell Ewald Co. v. Gomez, 136 S.Ct. 663, 673 (2016); Cunningham v. Gen. Dynamics

 8   Info. Tech., Inc., 888 F.3d 646 (4th Cir. 2018).

 9          Applied here, as to the first Yearsley prong, a relevant inquiry for immunity to attach is

10   whether the government must have authorized only a $1 per day wage rate for detainees

11   participating in the Volunteer Worker Program (VWP) at the Northwest Detention Center

12   (NWDC), or if, in addition, whether the government must have also authorized an exception to

13   the requirement that GEO must abide by the “most stringent” of “applicable federal, state and

14   local labor laws”; and if so, whether that authority was validly conferred. Also relevant is

15   whether the government did, in fact, authorize the $1 per day wage rate.

16          Resolving these issues, at least at this stage, appears to be intertwined with the merits of

17   the case. The record on these issues may not yet be fully developed. The Court should refrain

18   from reaching their merits at present.

19          Because the Court should not reach the merits of the first Yearsley prong, the Court

20   respectfully declines to reach the merits of the second Yearsley prong. On the issue of whether

21   dismissal is warranted on grounds of derivative sovereign immunity under Yearsley, Defendant’s

22   motion should be denied without prejudice.

23   II.    Other grounds for dismissal.

24

     ORDER ON DEFENDANT THE GEO GROUP, INC.’S MOTION TO DISMISS PLAINTIFFS’ FIRST
     AMENDED COMPLAINT - 2
                 Case 3:17-cv-05769-RJB Document 113 Filed 08/06/18 Page 3 of 3



 1              Defendant’s motion also seeks dismissal on several other grounds. The motion seeks

 2   “fresh consideration of its current arguments regarding preemption . . . and the inapplicability of

 3   [the State of Washington Minimum Wage Act],” Dkt. 91 at 20, which were addressed in a prior

 4   order. Dkt. 28 ("Order on Motion to Dismiss Class Action Complaint for Damages”). A third

 5   issue raised is whether dismissal is warranted for the failure to join the Department of Homeland

 6   Security (DHS) and Immigration and Customs Enforcement (ICE), an issue also addressed by a

 7   prior order. Dkt. 67 (“Order on Motion for Order of Dismissal Based on Plaintiff’s Failure to

 8   Join Required Government Parties”). The Court has again reviewed all three grounds for

 9   dismissal in light of the record and procedural posture at present, and none is persuasive.

10   Defendant’s motion should be denied as to the other grounds for dismissal: preemption, failure to

11   state a claim based on the inapplicability of the MWA, and failure to join required government

12   parties.

13                                                    ***

14              THEREFORE, it is HEREBY ORDERED: Defendant The GEO Group, Inc.’s Motion to

15   Dismiss Plaintiffs’ First Amended Complaint (Dkt. 91) is DENIED WITHOUT PREJUDICE as

16   to the Yearsley derivative sovereign immunity issue raised under Fed. R. Civ. P. 12(b)(1). The

17   motion is OTHERWISE DENIED as to the other grounds raised for dismissal.

18              IT IS SO ORDERED.

19              Dated this 6th day of August, 2018.

20

21                                           A
                                             ROBERT J. BRYAN
22
                                             United States District Judge
23

24

     ORDER ON DEFENDANT THE GEO GROUP, INC.’S MOTION TO DISMISS PLAINTIFFS’ FIRST
     AMENDED COMPLAINT - 3
